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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA 942 QP

 

 

TRAVIS JONSRUD, ED GVae&9 - 8 i
Plaintiff, COMPLAINT FOR DAMAGES
VS. 1. Unreasonable Search and Seizure—
Detention and Arrest (42 U.S.C. §
CITY OF DESERT HOT SPRINGS, 1983) ;
OFFICER LARRY ESSEX, 2. Unreasonable Search and Seizure—
SERGEANT ROBERT RITCHIE, Excessive Force and Denial of
OFFICER PAUL TAPIA, OFFICER Medical Care (42 U.S.C. § 1983)
JASON HUNTER, RAUL 3. Municipal Liability for
SANDOVAL, and DOES 1-10, Unconstitutional Custom, Practice,
inclusive, or Policy (42 U.S.C. § 1983)
4. False Arrest/False Imprisonment
Defendants. 5. Assault/Battery
6. Negligence
7. Intentional Infliction of Emotional
Distress
DEMAND FOR JURY TRIAL
FILED BY FAX
COMPLAINT CAG 2005

 

Plaintiff Travis Jonsrud, for his complaint against Defendants City of Desert
Hot Springs, Officer Larry Essex, Sergeant Robert Ritchie, Officer Paul Tapia,

Officer Jason Hunter, Raul Sandoval, and Does 1-10, inclusive, alleges as follows:

 

COMPLAINT FOR DAMAGES

 

 

 
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1 INTRODUCTION

1. This civil rights action seeks compensatory and punitive damages from

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Defendants for violating various rights under the United States Constitution and
state law in connection with the February 25, 2009 encounter between the involved

officers and Plaintiff.

PARTIES
2 At all relevant times, Plaintiff TRAVIS JONSRUD (“JONSRUD”) was

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a resident of the City of Desert Hot Springs, California.

10 Bi. At all relevant times, Defendant CITY OF DESERT HOT SPRINGS
11 || (“CITY”) is and was a duly organized public entity, form unknown, existing under
12 || the laws of the State of California. At all relevant times, CITY was the employer of
13 || Defendants OFFICER LARRY ESSEX (“ESSEX”); SERGEANT ROBERT

14 || RITCHIE (“RITCHIE”); OFFICER PAUL TAPIA (“TAPIA”); OFFICER JASON
15 || HUNTER (“HUNTER”); DOES 1 through 5 (“DOE OFFICERS”), who were CITY
16 || Police Officers, and DOES 6 through 10 (“DOE SUPERVISORS”), who were

17 || managerial, supervisorial, and policymaking employees of the CITY Police

18 || Department. At all relevant times, ESSEX, RITCHIE, TAPIA, HUNTER, DOE

19 || OFFICERS, and DOE SUPERVISORS were residents of Riverside County,

20 || California. ESSEX, RITCHIE, TAPIA, HUNTER, and DOE OFFICERS are sued
21 ||in their individual capacity for damages only.

22 4, At all relevant times, Defendants ESSEX, RITCHIE, TAPIA,

23 || HUNTER, DOE OFFICERS, and DOE SUPERVISORS were duly authorized

24 ||employees and agents of the CITY, who were acting under color of law within the
25 || course and scope of their respective duties as Police Officers and with the complete
26 || authority and ratification of their principal, Defendant CITY.

a7 3. At all relevant times, Defendants ESSEX, RITCHIE, TAPIA,

28 || HUNTER, DOE OFFICERS, and DOE SUPERVISORS were duly appointed

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COMPLAINT FOR DAMAGES

 

 

 
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officers and/or employees or agents of CITY, subject to oversight and supervision
by CITY’s elected and non-elected officials.

6. At all relevant times, RAUL SANDOVAL (“SANDOVAL”) was a
Police Officer and employee of the City of San Bernardino Police Department. At
all relevant times, SANDOVAL was either acting under color of law or conspiring
with the other defendant officers to violate Plaintiff's civil rights. At all relevant
times, SANDOVAL was a resident of San Bernardino County, California, and is
sued in his individual capacity for damages only.

7. At all times mentioned herein, each and every defendant was the agent
of each and every other defendant and had the legal duty to oversee and supervise
the hiring, conduct and employment of each and every defendant herein.

8. The true defendants DOES 1 through 10, inclusive, are unknown to
Plaintiff, who therefore sues these defendants by such fictitious names. Plaintiff
will seek leave to amend this complaint to show the true names and capacities of
these defendants when they have been ascertained. Each of the fictitious named
defendants is responsible in some manner for the conduct and liabilities alleged
herein.

9. In doing the acts and failing and omitting to act as hereinafter
described, Defendants ESSEX, RITCHIE, TAPIA, HUNTER, DOE OFFICERS,
and DOE SUPERVISORS were acting on the implied and actual permission and
consent of CITY.

10. On March 2, 2009, Plaintiff filed a comprehensive and timely claim for
damages with CITY pursuant to applicable sections of the California Government
Code.

11. On April 14, 2009, CITY denied said claims.

COMPLAINT FOR DAMAGES

 
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] JURISDICTION AND VENUE
2 12. This civil action is brought for the redress of alleged deprivations of
constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the

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Fourth and Fourteenth Amendments of the United States Constitution. Jurisdiction
is founded on 28 U.S.C. §§ 1331, 1343, and 1367.

13. Venue is proper in this Court under 28 U.S.C. § 1391(b), because
Plaintiff and Defendants reside in, and all incidents, events, and occurrences giving

rise to this action occurred in, the County of Riverside, California.

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10 FACTS COMMON TO ALL CLAIMS FOR RELIEF

11 14. Plaintiff repeats and realleges each and every allegation in paragraphs |
12 || through 13 of this Complaint with the same force and effect as if fully set forth

13 || herein.

14 15. Onor about February 25, 2009, at or near the intersection of Palm

15 || Drive and Hacienda Avenue in Desert Hot Springs, California, SANDOVAL

16 || detained JONSRUD without probable cause or reasonable suspicion and/or without
17 || legal authority to do so. While on duty as a CITY Police Officer, ESSEX also

18 || detained JONSRUD without probable cause or reasonable suspicion.

19 16. ESSEX used excessive force against JONSRUD, including but not

20 || limited to, grabbing, pulling, punching, kicking, and jumping on his back.

21 || SANDOVAL used excessive force against JONSRUD, including but not limited to,
22 || grabbing and pulling him.

23 17. | While on duty as CITY Police Officers, RITCHIE and TAPIA used

24 || excessive force against JONSRUD, including but not limited to, deploying Tasers
25 || on him several times.

26 18. While on duty as a CITY Police Officer, HUNTER used excessive

27 || force against JONSRUD, including but not limited to, grabbing and pulling him.

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19. RITCHIE, TAPIA, and ESSEX used excessive force against
JONSRUD, including but not limited to, pointing large caliber handguns at
JONSRUD and shooting at him more than twenty times.

20. Based on the information known to Defendants, a reasonable officer in
their position could not possibly conclude that JONSRUD presented an imminent
threat of death or serious bodily injury to anyone when he was shot. Defendants had
no information that JONSRUD had any weapon, or that JONSRUD was attempting
to obtain or wield any weapon against anyone.

21. Defendants had no information that JONSRUD had committed any
crime, was resisting arrest or trying to evade arrest by flight, and even if there had
been a lawful reason to take JONSRUD into custody or if he had presented any sort
of threat (which he did not), Defendants ignored many reasonable alternative means
of responding to the situation.

22. Defendants handcuffed JONSRUD and took him into custody without
probable cause to believe that he had committed any crime.

23. On information and belief, Defendants purposefully did not
immediately report the use of force or seek medical assistance for JONSRUD.

24. On information and belief, Defendants, although having actual and
constructive notice and knowledge of JONSRUD’s serious medical conditions,
purposefully disregarded his medical needs.

25. Based on Defendants’ knowingly false statements and withholding of
exculpatory evidence, the Riverside County District Attorney charged JONSRUD
with two felony counts of assault on a peace officer.

26. Defendants acted with deliberate indifference and with purpose to harm
unrelated to any legitimate law enforcement objective.

27.  Asadirect result of Defendants’ conduct, JONSRUD sustained critical,
life-threatening injuries, including gunshot wounds to his head, chest, and leg.

JONSRUD experienced several pain and suffering, emotional distress, mental

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COMPLAINT FOR DAMAGES

 
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anguish, humiliation, and false imprisonment. JONSRUD also incurred substantial
medical and legal expenses and lost earning capacity. JONSRUD’s damages

include both past and future losses.

FIRST CLAIM FOR RELIEF
Unreasonable Search and Seizure—Detention and Arrest (42 U.S.C. § 1983)
(Against Defendants ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, AND
DOE OFFICERS)

28. Plaintiff repeats and realleges each and every allegation in paragraphs |
through 27 of this Complaint with the same force and effect as if fully set forth
herein.

29. Defendants ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and
DOE OFFICERS detained and arrested JONSRUD in violation of his right to be
secure in his person against unreasonable searches and seizures as guaranteed to
JONSRUD under the Fourth Amendment to the United States Constitution and
applied to state actors by the Fourteenth Amendment.

30. Asaresult of the conduct of ESSEX, RITCHIE, TAPIA, HUNTER,
SANDOVAL, and DOE OFFICERS, they are liable for JONSRUD’s injuries, either
because they were integral participants in the wrongful detention and arrest, or
because they failed to intervene to prevent these violations.

31. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was willful, wanton, malicious and done with reckless
disregard for the rights and safety of JONSRUD and therefore warrants the
imposition of exemplary and punitive damages as to Defendants ESSEX, RITCHIE,
TAPIA, HUNTER, SANDOVAL, and DOE OFFICERS.

32. Accordingly, Defendants ESSEX, RITCHIE, TAPIA, HUNTER,
SANDOVAL, and DOE OFFICERS each are liable to JONSRUD for compensatory
and punitive damages under 42 U.S.C. § 1983.

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COMPLAINT FOR DAMAGES

 
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SECOND CLAIM FOR RELIEF
Unreasonable Search and Seizure—Excessive Force and Denial of Medical
Care (42 U.S.C. § 1983)
(Against Defendants ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and
DOE OFFICERS)

33. Plaintiff repeats and realleges each and every allegation in paragraphs |
through 32 of this Complaint with the same force and effect as if fully set forth
herein.

34. The unjustified assault, battery, and shooting of JONSRUD by ESSEX,
RITCHIE, TAPIA, HUNTER, and SANDOVAL, and the wrongful denial of
medical care by ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and DOE
OFFICERS, deprived JONSRUD of his right to be secure in his person against
unreasonable searches and seizures as guaranteed to the JONSRUD under the
Fourth Amendment to the United States Constitution and applied to state actors by
the Fourteenth Amendment.

35. The actions of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS deprived JONSRUD of his right to be free from state actions
that shock the conscience under the Fourteenth Amendment’s Due Process Clause.

36. Asaresult of the conduct of ESSEX, RITCHIE, TAPIA, HUNTER,
SANDOVAL, and DOE OFFICERS, they are liable for JONSRUD’s injuries, either
because they were integral participants in the excessive force or denial of medical
care, or because they failed to intervene to prevent these violations. They also are
liable because their use of excessive non-deadly force acted as a catalyst for the later
use of deadly force, whether unreasonable or otherwise.

37. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was willful, wanton, malicious and done with reckless

disregard for the rights and safety of JONSRUD and therefore warrants the

COMPLAINT FOR DAMAGES

 

 

 
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imposition of exemplary and punitive damages as to Defendants ESSEX, RITCHIE,
TAPIA, HUNTER, SANDOVAL, and DOE OFFICERS.

38. Accordingly, Defendants ESSEX, RITCHIE, TAPIA, HUNTER,
SANDOVAL, and DOE OFFICERS each are liable to JONSRUD for compensatory
and punitive damages under 42 U.S.C. § 1983.

THIRD CLAIM FOR RELIEF
Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
(Against Defendants CITY and DOE SUPERVISORS)

39. Plaintiff repeats and realleges each and every allegation in paragraphs 1|
through 38 of this Complaint with the same force and effect as if fully set forth
herein.

40. On and for some time prior to February 25, 2009 (and continuing to the
present date) Defendants CITY and DOE SUPERVISORS deprived Plaintiff of the
rights and liberties secured to him by the Fourth and Fourteenth Amendments to the
United States Constitution, in that said defendants and their supervising and
managerial employees, agents, and representatives, acting with gross negligence and
with reckless and deliberate indifference to the rights and liberties of the public in
general, of Plaintiff, and of persons in his class, situation and comparable position in
particular, knowingly maintained, enforced and applied an official recognized CITY
custom, policy, and practice of:

(a) Employing and retaining as Police Officers and other personnel,
including ESSEX, RITCHIE, TAPIA, HUNTER, and DOE
OFFICERS, who Defendants CITY and DOE SUPERVISORS at
all times material herein knew or reasonably should have known
had dangerous propensities for abusing their authority, for

mistreating citizens by failing to follow written CITY Police

COMPLAINT FOR DAMAGES

 
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Department policies, and using excessive force including deadly
force on prior occasions;

Of inadequately supervising, training, controlling, assigning, and
disciplining CITY Police Officers, and other CITY personnel,
including ESSEX, RITCHIE, TAPIA, HUNTER, and DOE
OFFICERS, who Defendants CITY and DOE SUPERVISORS
each knew or in the exercise of reasonable care should have
known had the aforementioned propensities and character traits;
By maintaining grossly inadequate procedures for reporting,
supervising, investigating, reviewing, disciplining and
controlling the intentional misconduct by Defendants ESSEX,
RITCHIE, TAPIA, HUNTER, and DOE OFFICERS, who are
CITY Police Officers;

By failing to adequately train officers, including Defendants
ESSEX, RITCHIE, TAPIA, HUNTER, and DOE OFFICERS,
and failing to institute appropriate policies, regarding
constitutional procedures and practices for use of a Taser, use of
firearms, and field contacts with persons believed to be under the
influence of drugs or alcohol; and

By having and maintaining an unconstitutional custom and
practice of using excessive force including deadly force against
unarmed individuals, detaining and arresting individuals without
probable cause, denying medical care, and covering up police
misconduct, which is also demonstrated by inadequate training
regarding these subjects. These customs and practices by CITY
and DOE SUPERVISORS were done with a deliberate

indifference to individuals’ safety and rights.

COMPLAINT FOR DAMAGES

 
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1 41. By reason of the aforementioned policies and practices of Defendants

2 || CITY and DOE SUPERVISORS, JONSRUD suffered severe pain and suffering,

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mental anguish, humiliation, and emotional distress, and incurred substantial
medical and legal expenses and lost earning capacity.

42. Defendants CITY and DOE SUPERVISORS, together with various
other officials, whether named or unnamed, had either actual or constructive
knowledge of the deficient policies, practices and customs alleged in the paragraphs

above. Despite having knowledge as stated above these defendants condoned,

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tolerated and through actions and inactions thereby ratified such policies. Said

10 || defendants also acted with deliberate indifference to the foreseeable effects and

11 || consequences of these policies with respect to the constitutional rights of Plaintiff,
12 || and other individuals similarly situated.

13 43. By perpetrating, sanctioning, tolerating, and ratifying the outrageous
14 || conduct and other wrongful acts, and for failing to discipline the involved officers,
15 || Defendants CITY and DOE SUPERVISORS acted with an intentional, reckless, and
16 || callous disregard for the well-being of Plaintiff and his constitutional as well as

17 || human rights. Defendants CITY and DOE SUPERVISORS and each of their

18 || actions were willful, wanton, oppressive, malicious, fraudulent, and extremely

19 || offensive and unconscionable to any person of normal sensibilities.

20 44. Furthermore, the policies, practices, and customs implemented and

21 || maintained and still tolerated by Defendants CITY and DOE SUPERVISORS were
22 || affirmatively linked to and were a significantly influential force behind Plaintiff's

23 || injuries.

24 45. Accordingly, Defendants CITY and DOE SUPERVISORS each are
25 || liable to Plaintiff for compensatory damages under 42 U.S.C. § 1983.

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COMPLAINT FOR DAMAGES

 

 

 
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FOURTH CLAIM FOR RELIEF
False Arrest/False Imprisonment (Cal. Govt. Code § 820 and California
Common Law)
(Against All Defendants Except Doe Supervisors)

46. Plaintiff repeats and realleges each and every allegation in paragraphs 1
through 45 of this Complaint with the same force and effect as if fully set forth
herein.

47. ESSEX, RITCHIE, TAPIA, HUNTER, and DOE OFFICERS, while
working as Police Officers for the CITY Police Department, and acting within the
course and scope of their duties, and SANDOVAL, intentionally deprived
JONSRUD of his freedom of movement by use of force, threats of force, menace,
fraud, deceit, and unreasonable duress. ESSEX, RITCHIE, TAPIA, HUNTER,
SANDOVAL, and DOE OFFICERS also arrested JONSRUD without an arrest
warrant.

48. JONSRUD did not knowingly or voluntarily consent.

49. JONSRUD was caused to suffer severe emotional distress, severe pain
and suffering, mental anguish, humiliation, and false arrest.

50. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was a substantial factor in causing the harm of JONSRUD.

51. The CITY is vicariously liable for the wrongful acts of ESSEX,
RITCHIE, TAPIA, HUNTER, and DOE OFFICERS pursuant to section 815.2 of
the California Government Code, which provides that a public entity is lable for the
injuries caused by its employees within the scope of the employment if the
employee’s act would subject him or her to liability.

52. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was malicious, wanton, oppressive, and accomplished with a
conscious disregard for the rights of Plaintiff, entitling Plaintiff to an award of

exemplary and punitive damages.

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FIFTH CLAIM FOR RELIEF
Assault/Battery (Cal. Govt. Code § 820 and California Common Law)
(Against Defendants ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and
CITY)

53. Plaintiff repeats and realleges each and every allegation in paragraphs |
through 52 of this Complaint with the same force and effect as if fully set forth
herein.

54. ESSEX, RITCHIE, TAPIA, and HUNTER, while working as Police
Officers for the CITY Police Department, and acting within the course and scope of
their duties, and SANDOVAL, intentionally assaulted, battered, and shot
JONSRUD. ESSEX, RITCHIE, TAPIA, and HUNTER had no legal justification
for the attacks, and their use of force against JONSRUD while carrying out their
police duties was an unreasonable use of force.

55. Asadirect and proximate result of Defendants’ conduct as alleged
above, JONSRUD suffered severe pain and suffering, mental anguish, humiliation,
and emotional distress, and incurred medical expenses and lost earning capacity.

56. The CITY is vicariously liable for the wrongful acts of ESSEX,
RITCHIE, TAPIA, and HUNTER pursuant to section 815.2 of the California
Government Code, which provides that a public entity is liable for the injuries
caused by its employees within the scope of the employment if the employee’s act
would subject him or her to liability.

57. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, and
SANDOVAL was malicious, wanton, oppressive, and accomplished with a
conscious disregard for the rights of Plaintiff, entitling Plaintiffto an award of

exemplary and punitive damages.

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COMPLAINT FOR DAMAGES

 

 

 
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SIXTH CLAIM FOR RELIEF

Negligence (Cal. Govt. Code § 820 and California Common Law)

(Against All Defendants)

58. Plaintiffs repeat and reallege each and every allegation in paragraphs |

through 57 of this Complaint with the same force and effect as if fully set forth

59. The actions of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
DOE OFFICERS, and DOE SUPERVISORS toward JONSRUD were negligent and

reckless, including but not limited to:

the failure to properly and adequately assess the need to use
force including deadly force against, and to detain and arrest
JONSRUD;

the failure to monitor and record any use of force by CITY
Police Officers, including ESSEX, RITCHIE, TAPIA, and
HUNTER;

the failure to monitor and record any injuries specifically caused
by the use of force by CITY Police Officers, including ESSEX,
RITCHIE, TAPIA, and HUNTER;

the negligent tactics and handling of the situation with
JONSRUD;

the negligent use of force including Tasers and firearms against,
and the detention and arrest of JONSRUD;

the failure to properly train and supervise employees, both
profession and non-professional, including ESSEX, RITCHIE,
TAPIA, HUNTER, DOE OFFICERS, and DOE
SUPERVISORS;

COMPLAINT FOR DAMAGES

 
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(g) the failure to ensure that adequate numbers of employees with
appropriate education and training were available to meet the
needs of and protect the rights of JONSRUD;

(h) the failure to timely obtain medical care to JONSRUD; and

(i) the negligent manner in which SANDOVAL was allowed to and
did in fact ride along with ESSEX.

60. Asa direct and proximate result of defendants’ conduct as alleged
above, and other undiscovered negligent conduct, JONSRUD suffered severe pain

and suffering, mental anguish, humiliation, and emotional distress, and incurred

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substantial medical and legal expenses and lost earning capacity.

61. The CITY is vicariously liable for the wrongful acts of ESSEX,
RITCHIE, TAPIA, HUNTER, SANDOVAL, DOE OFFICERS, and DOE
SUPERVISORS pursuant to section 815.2 of the California Government Code,

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which provides that a public entity is liable for the injuries caused by its employees

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within the scope of the employment if the employee’s act would subject him or her

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to liability.
62. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
DOE OFFICERS, and DOE SUPERVISORS was malicious, wanton, oppressive,

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and accomplished with a conscious disregard for the rights of Plaintiff, entitling

20 || Plaintiff to an award of exemplary and punitive damages.

 

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22 SEVENTH CLAIM FOR RELIEF

23 Intentional Infliction of Emotional Distress (Cal. Govt. Code § 820 and

24 California Common Law)

25|| (Against Defendants ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, DOE
26 OFFICERS, and CITY)

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COMPLAINT FOR DAMAGES

 

 

 
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63. Plaintiff repeats and realleges each and every allegation in paragraphs |
through 62 of this Complaint with the same force and effect as if fully set forth
herein.

64. ESSEX, RITCHIE, TAPIA, HUNTER, and DOE OFFICERS, while
working as Police Officers for the CITY Police Department, and acting within the
course and scope of their duties, and SANDOVAL, engaged in conduct that was
outrageous, including but not limited to:

(a) Falsely detaining and arresting, and using excessive force
(including use of Tasers and firearms) against JONSRUD, who
was not resisting arrest, posed no safety threat, and had not
committed any crime;

(b) Failing to summon medical assistance for JONSRUD; and

(c) Ignoring evidence of JONSRUD’s innocence and taking steps to
cover up the wrongful conduct.

65. ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and DOE
OFFICERS abused a position of authority over JONSRUD, and knew that their
conduct would likely result in harm due to mental distress.

66. ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL, and DOE
OFFICERS intended to cause JONSRUD emotional distress, or acted with reckless
disregard of the probability that JONSRUD would suffer emotional distress,
knowing that JONSRUD was present when the conduct occurred.

67. JONSRUD suffered severe emotional distress, including suffering,
anguish, fright, horror, nervousness, grief, anxiety, worry, shock, humiliation, and
shame.

68. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was a substantial factor in causing the severe emotional

distress of JONSRUD.

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COMPLAINT FOR DAMAGES

 
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69. CITY is vicariously liable for the wrongful acts of ESSEX, RITCHIE,
TAPIA, HUNTER, and DOE OFFICERS pursuant to section 815.2 of the California
Government Code, which provides that a public entity is liable for the injuries
caused by its employees within the scope of the employment if the employee’s act
would subject him or her to liability.

70. The conduct of ESSEX, RITCHIE, TAPIA, HUNTER, SANDOVAL,
and DOE OFFICERS was malicious, wanton, oppressive, and accomplished with a
conscious disregard for the rights of Plaintiff, entitling Plaintiff to an award of

exemplary and punitive damages.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests entry of judgment in his favor and against
Defendants City of Desert Hot Springs, Officer Larry Essex, Sergeant Robert
Ritchie, Officer Paul Tapia, Officer Jason Hunter, Raul Sandoval, and Does 1-10,

 

 

inclusive, as follows:
A. — For compensatory damages in the amount to be proven at trial;
B. For punitive damages against the individual defendants in an
amount to be proven at trial;
C. For interest;
D. For reasonable costs of this suit and attorneys’ fees; and
E. For such further other relief as the Court may deem just, proper,
and appropriate.
DATED: October 12, 2009 LAW OFFICES OF DALE K. GALIPO
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Attorneys for Plaintiffs fe
yf
- -16-

 

 

 

“COMPLAINT FOR DAMAGES |
Case 5:09-cv-01912-VAP-DTB Document1 Filed 10/13/09 Page17 of 20 Page ID #:17

I DEMAND FOR JURY TRIAL
Plaintiff hereby demands a trial by jury.
DATED: October 12, 2009 LAW OFFICES OF DALE K. GALIPO

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Case 5:09-cv-01912-VAP-DTB Document1 Filed 10/13/09 Page 18 of 20 Page ID #:18

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Case Number.

TRAVIS JONSRUD,

Plaintiff,

VS.

et Pp
CITY OF DESERT HOT SPRINGS, OFFICER K, D- C V ‘ 0 9 wii 0 i 9 i 2 = L
LARRY ESSEX, SERGEANT ROBERT RITCTHE, —
OFFICER PAUL TAPIA, OFFICER JASON SUMMONS
HUNTER, RAUL SANDOVAL, and DOES 1-10,

inclusive,

 

Defendants.

 

 

 

 

TO: THE ABOVE-NAMED DEFENDANTS (8):

YOU ARE HEREBY SUMMONED and required to file with this court and serve upon plaintiff's attorney
Dale K. Galipo, Esq. , whose address is:

Law Offices of Dale K. Galipo
21800 Burbank Bivd., Suite 310
Woodland Hills, California 91367

An answer to the X complaint O ___ amended complaint O) counterclaim (© cross-claim

Which is herewith served upon you within 20 days after service of this Summons upon you, exclusive of
the day of service. Ifyou fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint.

TERRY NAFISI
CLERK, U.S. DISTRICT COURT

By: ra

OCT 13 OO Deputy Clerk f

Date:

  

 

SUMMONS

CONFORMS WITH JUDICIAL CONCIL FORM # CV-14 (01/01)
Case 5:09-cv-01912-VAP-DTB Document1 Filed 10/13/09 Page 19 of 20 Page ID #:19

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL. COVER SHEET

T (a) PLAINTIFFS (check box it you are reprosanting yoursell Psy

TRAVIS JONSRUD

(Bb) ccunty of Residence of Flest Listed Ptaintitf (Except in U.S. Plaintif Cases}:

Riverside

(c) Allorneys (Firm Mame, Address and Telephone Number. If yau ate represaning yourself,

provide same.)

DALE K. GALIPO,

ESQ.;

SBN. 144074

LAW OFFICES OF DALE K. GALITPO

21800 BURBANK BLVD.,

SUITE 310

 

DEFENDANTS
CITY OF DESERT HOT SPRINGS, OFFICER LARRY ESSEX,
SERGEANT ROBERT RITCHIE, OFFICER PAUL TAPIA, OFFICER
JASON HUNTER, RAUL SANDOVAL, and Does 1|-10, inclusive,
County of Residence of First Listed Defendant (In U.S. Plainlilf Cases Orly}

Allormneys (ll Known)

Unknown

 

 

 

 

Sree py aenas
WOOLAND HILLS, CALIFORNIA 91367 athe at FPA
(818) 347-3333 GHG 200°
dalekgalipo@yahoo.com
il. BASIS CF JURISDICTION (piace an x in cne box only.) I. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Gases Only
(Placa an X in one box for plaintiff and one for defandant.)
. _ PTF DEF PTF DEF
1 U.S. Gevernment Plaintiff X)3 Federal Question Citizen of This Slate =f 1 [4 Incorporated or Principal Place = 4 Ts 4
(U.S. Government Nol a Party} of Business in this State
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| 2 U.S. Goverment Defendant []4 Diversity (Indicate Citizenship of feu = ‘ coe
Parties in llem It} of Business in Another Slate
Citizen or Subjectofa =! 3 _. 3 Foreign Nation Lada Lobe
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IV. ORIGIN (Place an X in one box only.)
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Proceeding State Court Appellate Court Reopened anolner district Litigation Judge fram Magistrate
(specify): Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: _X) ves “| No (Check ‘Yes! only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23:

| Yes {Xi No

> MONEY DEMANDED IN COMPLAINT: $ to

 

 

VI. CAUSE OF ACTION

(Cile the WS. Civil Statute under which you are filing and wile a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Unreasonoble Search and Seizure—Detention and Arrest (42 U.S.C. § 1983), Unreasonable Search and Seizure—Excessive Force and Denial of Medical Care (42 U.S.C. §
1983), Municipal Liability for Unconstitutional Custom, Practice, or Policy (42 U.S.C. § 1983), False Arrest/False Imprisonment, Assault/Battery , Negligence , Intentional

[nfliction af Emotional Distress
VI.

NATURE OF SUIT (Place an a in one box only.)

 

 

 

400 Slate
Reapportionment
, 410 Antitrust
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470 Racketeer Influenced and
; Corupl Organizations
460 Consumer Gredit
490 Cable/Sat TV
| 810 Selective Servica
| 880 Securitles/GCommodities/
Exchange

875 Customer Challenge
: 12 USC 3410
890 Other Statutary

_, __ Actions
891 Agricultural Act
: 892 Economic Stabilization

x
. 693 Environmental Matters
B94 Energy Allocation Act
: 895 Freedom of Info. Act

___ 900 Appeal of Fee Determina-|——'
| 245 Tort Product Liability

__} 290 Ail Other Real Property

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1110 Insurance

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"490 Miller Act
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Judgment

[_] 151 Madicare Act

| _j152 Recovery of Defaulted
Student Loan

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("154 Recovery of Overpayment

of Veteran's Benefils
L160 Slockhalders' Suits
__. 190 Other Contract

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Villa). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? ~“X] No Toi

If yes, list case number(s):

 

FOR OFFICE USE ONLY:

Case Number:

 

CV-71 (07/05)

CIVIL COVER SHEET

  

RISONER- PETITIONS [35/322 CABI
EIS ORAS ERORE —) 510 Motions to I710Fait Labor
_|370 Other Fraud Vacate _-,._ Standards Act
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Page 1 of 2
COD-IS43
Case 5:09-cv-01912-VAP-DTB Document1 Filed 10/13/09 Page 20 of 20 Page ID #:20

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT ~e CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
VIIl(b). RELATED CASES: Have any cases been previously filed that are related to the present case? TX No j_ : Yes

If yes, list case number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply); __|A. Arise from the same or closely related transactions, happenings, or events; or.
(_ |B. Call for determination of the same or substantially related or similar questions of law and fact; or
+. For other reasons would entail substantial duplication of labor if heard by different judges; or
; _.|D. Involve the same patent, trademark or copyright, and one of the factors identified above
in a, bor calso is present.

 

 

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet If necessary)

:X. Chack here if the U.S. government, iis agencies or employees is a named plaintiff.
RIVERSIDE

List the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).

X | Check here ifthe U.S. government, its agencies or employees is a named defendant.
RIVERSIDE :

List the California County, or State if other than California, in which EACH claim arose. {Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.

RIVERSIDE wes

x ff \ fs P, Z
X. SIGNATURE OF ATTORNEY (OR PRO PR): _/ a oj i a ae Date 10/12/2009
ALE K./ GALIPO
Notice to Counsel/Parties: The CV-71 (JS-44) Ci¥il Cover Sheet and the information’ contdined bérein neither replace nor supplement the
y law. This form, appreved by theJudicial Conference of the United States In
September 1974, is required pursuant to Local Rule 3-7 is not filed but is used bythe Clerk Of the Court for the purpose of statistics, venue
and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

   
  

   
 

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

841 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social
Security Aci, as amended. Also, include claims by hospilals, skilled nursing facilities, etc., for
certification as providers of services under the program. (42 U.S.C, 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health
and Safety Act of 1969. (30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefils under Title 2 of the Social
Security Act, as amended; plus all claims filed for child's insurance benefils based on
disability, (42 U.S.C. 405(g)}

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of
the Social Security Act, as amended.. (42 U.S.C. 405(g))

B54 SSID All claims for supplemental security income payments based upon disability filed under Title
16 of the Social Security Act, as amended.

865 RS! Ail claims for retirement {old age) and survivors benefits under Title 2 of the Social Security
Aci, as amended. (42 U.S.C. (g})

 

CV-71 (07/05) CIVILCQVER SHEET Page 2 of 2
